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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

ERIC NATHANIEL SAMMONS,                          *

     Petitioner,                                 * Civil Action No. RDB-20-2333

     v.                                          * Crim. Action No. RDB-17-0087

UNITED STATES OF AMERICA,                        *

     Respondent.                                 *

*          *       *       *       *       *         *       *        *       *       *       *

                                MEMORANDUM OPINION

          On October 3, 2017, pro se Petitioner Eric Nathaniel Sammons (“Sammons” or

“Petitioner”) pled guilty to two counts of production of child pornography, in violation of 18

U.S.C. § 2251(a). (Plea Agreement, ECF No. 27.) This Court sentenced Petitioner to a total

term of 420 months (35 years) of imprisonment, within the terms of his agreement with the

Government pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure,

pursuant to which he agreed that a sentence of no more than 480 months (40 years) was

appropriate. (Judgment, ECF No. 43.)

          Currently pending before this Court is Petitioner’s pro se Motion to Vacate, Set Aside,

or Correct Sentence pursuant to 28 U.S.C. § 2255. (ECF No. 67.) The Government has filed

a Response in opposition. (ECF No. 69.) Petitioner was given 28 days following the

Government’s Response to file a Reply, but he did not do so. (See ECF No. 68.) The parties’

submissions have been reviewed and no hearing is necessary. See Local Rule 105.6 (D. Md.

2018). For the reasons that follow, Petitioner’s Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C. § 2255 (ECF No. 67) is DENIED.
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                                     BACKGROUND

       On February 14, 2017, Eric Nathaniel Sammons was charged in a seven-Count

Indictment with production of child pornography, in violation of 18 U.S.C. § 2251(a) (Counts

1, 2, 3, 5, 6), and possession of child pornography, in violation of 18 U.S.C. §§ 2252(a)(4)(B)

and (b)(2) (Counts 4, 7). (Indictment, ECF No. 1.) On October 3, 2017, Sammons pled guilty

to Counts 1 and 3, pursuant to a plea agreement under Federal Rule of Criminal Procedure

11(c)(1)(C). (Plea Agreement, ECF No. 27.) Sammons stipulated that, “between 2014 and

2016, [he] sexually exploited four minors and produced images of the minors engaged in

sexually explicit conduct. …[and] maintained a collection of child pornography on his digital

devices.” (Id., Attachment A.) Sammons further agreed that a sentence of no more than 40

years’ imprisonment (480 months) was the appropriate and reasonable sentence. (Id. ¶ 12.)

Sammons also waived his right to appeal his sentence. (Id. ¶ 21.)

       This Court conducted a Sentencing Hearing on June 4, 2018. (ECF No. 42.) At

sentencing, this Court reviewed the Presentence Investigation Report (“PSR”) with Sammons,

his counsel, and the Government. (6/4/2018 Sentencing Tr., ECF No. 53; PSR, ECF No.

32.)   The PSR reflected a total offense level of 43 and a criminal history category of III,

resulting in an advisory guideline range of life imprisonment. (PSR ¶ 93.) However, because

the statutorily authorized maximum sentences were less than the maximum of the applicable

guideline range, the guideline range was adjusted to 720 months (60 years). (Id.) The

Government recommended a sentence of 480 months (40 years) and defense counsel

recommended a sentence of 180 months (15 years). At sentencing, the Court noted that it

must also consider the agreed 11(c)(1)(C) plea agreement of no more than 40 years’


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imprisonment. (6/4/2018 Sentencing Tr. at 36-38, 54-55, ECF No. 53.) Based on these

factors, this Court sentenced Sammons to 240 months’ imprisonment as to Count 1 and 180

months’ imprisonment as to Count 3, to run consecutive with Count 1, for a total term of 420

months of imprisonment, followed by a lifetime period of supervised release. (Judgment, ECF

No. 43.)

       Despite waiving his right to appeal his conviction and sentence, Sammons appealed his

sentence to the United States Court of Appeals for the Fourth Circuit on June 18, 2018. (See

Notice of Appeal, ECF No. 45.)         On January 24, 2019, the Fourth Circuit dismissed

Sammons’s appeal and affirmed his conviction and sentence. (ECF No. 55.); United States v.

Sammons, 748 Fed. App’x 575 (Mem.) (4th Cir. Jan. 24, 2019).

       On August 12, 2020, Sammons filed the presently pending Motion to Vacate, Set Aside,

or Correct Sentence pursuant to 28 U.S.C. § 2255. (ECF No. 67.) On October 7, 2020, the

Government filed a Response in opposition to Sammons’s Motion. (ECF No. 69.) Sammons

was given 28 days following the Government’s Response to file a Reply, but he did not do so.

(See ECF No. 68.)

                                STANDARD OF REVIEW

       This Court recognizes that the Petitioner is pro se and has accorded his pleadings liberal

construction. See Erickson v. Pardus, 551 U.S. 89, 94, 127 S. Ct. 2197 (2007). Under 28 U.S.C.

§ 2255, a prisoner in custody may seek to vacate, set aside, or correct his sentence on four

grounds: (1) the sentence was imposed in violation of the Constitution or laws of the United

States, (2) the court was without jurisdiction to impose the sentence, (3) the sentence was in

excess of the maximum authorized by law, or (4) the sentence is otherwise subject to a


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collateral attack. Hill v. United States, 368 U.S. 424, 426–27, 82 S. Ct. 468 (1962) (citing 28

U.S.C. § 2255). “If the court finds . . . that the sentence imposed was not authorized by law

or otherwise open to collateral attack, or that there has been such a denial or infringement of

the constitutional rights of the prisoner as to render the judgment vulnerable to collateral

attack, the court shall vacate and set the judgment aside and shall discharge the prisoner or

resentence him or grant a new trial or correct the sentence as may appear appropriate.” 28

U.S.C. § 2255(b).

       The scope of a § 2255 collateral attack is far narrower than an appeal, and a “‘collateral

challenge may not do service for an appeal.’” Foster v. Chatman, 136 S. Ct. 1737, 1758 (2016)

(quoting United States v. Frady, 456 U.S. 152, 165, 102 S. Ct. 1584 (1982)). Thus, any failure to

raise a claim on direct appeal constitutes a procedural default that bars presentation of the

claim in a § 2255 motion unless the petitioner can demonstrate cause and prejudice, or actual

innocence. United States v. Pettiford, 612 F.3d 270, 280 (4th Cir. 2010); see Dretke v. Haley, 541

U.S. 386, 393, 124 S. Ct. 2291 (2004); Reed v. Farley, 512 U.S. 339, 114 S. Ct. 2291 (1994); see

also United States v. Mikalajunas, 186 F.3d 490, 492–93 (4th Cir. 1999). Conversely, any “failure

to raise an ineffective-assistance-of-counsel claim on direct appeal does not bar the claim from

being brought in a later, appropriate proceeding under § 2255.” Massaro v. United States, 538

U.S. 500, 509, 123 S. Ct. 1690 (2003).

                                          ANALYSIS

       Sammons argues that his sentence must be vacated because (1) he received an excessive

sentence that was disparate with similarly situated defendants; (2) the original search of his cell

phone was an illegal search and seizure in violation of the Fourth Amendment to the United


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States Constitution; and (3) his attorney failed to render effective assistance of counsel. As

explained below, Sammons’s first two arguments are procedurally barred because Sammons

failed to raise them on appeal and has failed to show cause and prejudice. While Sammons

may assert his ineffective assistance of counsel claim for the first time on collateral review, this

claim also fails because Sammons has not shown that his counsel was deficient under the

Strickland standard.

  I.   Procedurally Barred Claims.

       As noted above, it is well-settled that a § 2255 motion is not a vehicle to circumvent a

proper ruling on appeal, United States v. Dyess, 730 F.3d 354, 360 (4th Cir. 2013), and a

defendant will not “be allowed to recast, under the guise of collateral attack, questions fully

considered by [the Circuit Court on direct appeal].” Boeckenhaupt v. United States, 537 F.2d 1182,

1183 (4th Cir. 1976) (citing Herman v. United States, 227 F.2d 332 (4th Cir. 1955)).

       Additionally, if a defendant waives an issue by failing to raise it on direct appeal and

then later attempts to raise it as a collateral attack, that motion is procedurally barred. See

Massaro v. United States, 538 U.S. 500, 504 (2003); Bousley v. United States, 523 U.S. 614, 622

(1998). An exception to this rule applies where a petitioner demonstrates both “cause” and

“actual prejudice,” Murray v. Carrier, 477 U.S. 478, 485 (1986); Wainwright v. Sykes, 443 U.S. 72,

87 (1977), or where a petitioner can demonstrate that he is “actually innocent.” United States v.

Pettiford, 612 F.3d 270, 280 (4th Cir. 2010); see Dretke v. Haley, 541 U.S. 386, 393, (2004); Reed

v. Farley, 512 U.S. 339, (1994); United States v. Mikalajunas, 186 F.3d 490, 492–93 (4th Cir. 1999).

To show actual prejudice, Petitioner has the burden of showing that the alleged errors “worked

to his actual and substantial disadvantage” with “error of constitutional dimensions.” Frady,


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456 U.S. at 170. Ultimately, when a sentence imposed by a district court was “‘within the

statutory limits,’ and the proceedings were not ‘infected with any error of fact or law of the

fundamental character’ the claim [is] not appropriate for a § 2255 review.” United States v. Foote,

784 F.3d 931, 937 (4th Cir. 2015) (quoting United States v. Addonizio, 442 U.S. 178, 186, 99 S.

Ct. 2235 (1979)).

       Sammons argues that his sentence is excessive and disparate from similarly situated

defendants. In addition, he argues that the search of his cell phone was an illegal search and

seizure. However, the Fourth Circuit summarily rejected Sammons’s challenge to his sentence

on appeal, concluding that “Sammons knowingly and voluntarily pled guilty and waived his

right to appeal his sentence.” United States v. Sammons, 748 Fed. App’x 575 (Mem.) (4th Cir.

Jan. 24, 2019). Accordingly, Sammons may only present these arguments if he can show cause

and prejudice, or actual innocence.

       Sammons offers little to support his bald allegations and fails to establish cause, actual

prejudice, or actual innocence warranting relief from the procedural bar of his claims. At

sentencing, this Court found Sammons’s conduct to be more egregious than defendants

similarly situated in the two cases upon which Sammons now relies, United States v. Gilmer,

Criminal Number RDB-09-311 (D. Md. June 4, 2009), and United States v. Hines, Criminal

Number RDB-16-378 (D. Md. July 8, 2016). (6/4/2018 Sentencing Tr., ECF No. 53.)

Specifically, this Court noted that Sammons’s conduct of “sneaking into someone’s home,

going past their bedroom and invading the space of their children is pretty egregious, and …

more egregious than the Gilmer case.” (Id. at 57.) Finally, Sammons’s sentence of 35 years




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was well below the low-end of the advisory guideline range which entailed a maximum of 720

months. (See PSR ¶¶ 92-93, ECF No. 32.) Accordingly, these claims are procedurally barred.

II.    Petitioner Received Effective Assistance of Counsel.

       Sammons argues that his counsel was ineffective by: failing to follow up on the status

of Sammons’s evidentiary motions filed prior to Sammons’s plea agreement; failing to

communicate with Sammons; and having Sammons “lie to the court and say that he had seen

and reviewed the PSR twice before that point.” (Pet’r’s Memo. at 6, ECF No. 67-1.)

       A freestanding claim of ineffective assistance of counsel may properly be asserted for

the first time in a § 2255 petition. United States v. DeFusco, 949 F.2d 114, 120–21 (4th Cir. 1991).

To state a claim for relief based on a Sixth Amendment claim of ineffective assistance of

counsel, a petitioner must satisfy the two-prong test set forth in Strickland v. Washington, 466

U.S. 668, 671, 104 S. Ct. 2052 (1984).

       The first, or “performance,” prong of the test requires a showing that defense counsel’s

representation was deficient and fell below an “objective standard of reasonableness.” Id. at

688. In making this determination, courts apply a strong presumption that counsel’s actions

fell within the “wide range of reasonable professional assistance.” Id. at 688–89. To satisfy

the first prong, the Petitioner “must overcome the presumption that, under the circumstances,

the challenged action ‘might be considered sound . . . strategy.’” Id. at 689. Specifically, a

Petitioner must identify “the acts or omissions of counsel that are alleged not to have been

the result of reasonable professional judgment.” Id. at 690.

       The second, or “prejudice” prong, requires that a petitioner demonstrate that his

counsel’s errors “had an adverse effect on the defense.” Id. at 693. In the plea-bargaining


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context, a petitioner must demonstrate that “there is a reasonable probability that, but for

counsel’s errors, [s]he would not have pleaded guilty and would have insisted on going to

trial.” Hill v. Lockhart, 474 U.S. 52, 59, 106 S. Ct. 366 (1985).

       Sammons’s claims of ineffective assistance of counsel cannot overcome the “‘strong

presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance.’” Yarbrough v. Johnson, 520 F.3d 329, 337 (4th Cir. 2008) (quoting Strickland, 466

U.S. at 689). Sammons’s arguments that his counsel was deficient by failing to follow up on

evidentiary motions, failing to communicate with Sammons, and having Sammons lie about

having seen the Presentence Investigation Report (“PSR”) prior to sentencing are all

contradicted by Sammons’s own sworn statements during the Rule 11 proceeding and at

sentencing. At his arraignment, Sammons expressed his satisfaction with defense counsel:

       The Court:              And have you fully discussed these charges with your attorney[]?

       The Defendant:          Yes.

       The Court:              Have you discussed the whole situation with him including the
                               evidence in the case?

       The Defendant:          Yes.

                                               ***
       The Court:              Are you fully satisfied with [counsel] and his representation and
                               the advice which he has given you?

       The Defendant:          Yes.

       The Court:              Is there anything that you have asked [counsel], the Assistant
                               Federal Public Defender to do which he has not done?

       The Defendant:          No.



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(10/3/2017 Arraignment Tr. at 10-11, ECF No. 51.) Accordingly, there is no reason for this

Court to now doubt the truth of Sammons’s sworn statements that his counsel was effective.

See United States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005) (citations omitted) (“A

defendant’s solemn declarations in open court affirming a plea agreement carry a strong

presumption of verity because courts must be able to rely on the defendant’s statements made

under oath during a properly conducted Rule 11 plea colloquy.”).

       Likewise, at sentencing, Sammons’s sworn statements contradict his present assertion

that he did not review the PSR:

       The Court:           … Have you had the occasion to review the presentence report
                            in this case which was prepared by Ms. McGuiness --

       The Defendant:       I have, Your Honor.

       The Court:           -- the U.S. Probation officer?

       The Defendant:       I have, Your Honor.

       The Court:           All right. And approximately how many times have you reviewed
                            it with [counsel]?

       (Counsel conferring with the Defendant.)

       The Defendant:       Two times.

       The Court:           All right. Two times? Are you satisfied you’ve had a sufficient
                            amount of time to go over it with him?

       The Defendant:       I am.

(6/4/2018 Sentencing Tr. at 7, ECF No. 53.) Finally, any effort by counsel to follow up on

evidentiary motions—as Sammons argues counsel should have done—would have been futile,

as Sammons knowingly and voluntarily pled guilty. (See Plea Agreement, ECF No. 27.)



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        In sum, none of counsel’s actions were constitutionally defective, and Sammons’s

ineffective assistance of counsel claims must fail. As a result, because all of Sammons’s

arguments lack merit, Sammons’s Motion to Vacate, Set Aside, or Correct Sentence pursuant

to 28 U.S.C. § 2255 (ECF No. 67) is DENIED.

                                       CONCLUSION

       For the foregoing reasons, Petitioner’s Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C. § 2255 (ECF No. 67) is DENIED.

       Pursuant to Rule 11(a) of the Rules Governing Proceedings under 28 U.S.C. § 2255,

the court is required to issue or deny a certificate of appealability when it enters a final order

adverse to the applicant. A certificate of appealability is a “jurisdictional prerequisite” to an

appeal from the court’s earlier order. United States v. Hadden, 475 F.3d 652, 659 (4th Cir. 2007).

A certificate of appealability may issue “only if the applicant has made a substantial showing

of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). Where the court denies

petitioner’s motion on its merits, a petitioner satisfies this standard by demonstrating that

reasonable jurists would find the court’s assessment of the constitutional claims debatable or

wrong. See Slack v. McDaniel, 529 U.S. 473, 484 (2000); see also Miller-El v. Cockrell, 537 U.S.

322, 336–38 (2003). Because reasonable jurists would not find Petitioner’s claims debatable,

a certificate of appealability is DENIED.

       A separate Order follows.

Dated: November 9, 2020


                                                    ________/s/____________
                                                    Richard D. Bennett
                                                    United States District Judge

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